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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:
                                                                             Chapter 11
                                                              1
               Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                   On November 22, 2023, at my direction and under my supervision, employees of Stretto
           caused the following documents to be served via electronic mail on Office of The U.S. Trustee for
           the District of Delaware, Attn: Linda Casey & Joseph Cudia, at joseph.cudia@usdoj.gov:

                 •      Notice of Deposition and Ex. A – Identity of Party 8 (Filed Under Seal)
                        (Docket No. 450)

                 •      Notice of Deposition and Ex. A – Identity of Party 9 (Filed Under Seal)
                        (Docket No. 451)
                 •      Notice of Deposition and Ex. A – Identity of Party 10 (Filed Under Seal)
                        (Docket No. 452)

                   In addition to the methods of service set forth herein, parties who have requested
           electronic notification of filings via the Bankruptcy Court’s CM/ECF system were sent the
           above referenced documents via electronic service.



           Dated: November 27, 2023                                                  _____________________________
                                                                                          Andrew K. Fitzpatrick
           State of Colorado               )
                                           )                  SS.
           County of Denver                )

           Subscribed and sworn before me this 27th day of November 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)
           ______________________________________________
           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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